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1    DANIEL J. BRODERICK, #89424
     Federal Defender
2    LINDA C. HARTER, CA Bar #179741
     Chief Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    KEIT TRAN
7
8                        IN THE UNITED STATES DISTRICT COURT
9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )      No. CR-S-10-00042 MCE
                                     )
12                  Plaintiff,       )
                                     )      STIPULATION AND ORDER VACATING
13        v.                         )      STATUS CONFERENCE AND SETTING FOR
                                     )      CHANGE OF PLEA
14   KEIT TRAN,                      )
                                     )
15                  Defendant.       )      DATE: July 19, 2012
                                     )      TIME: 9:00 a.m.
16   _______________________________ )      Judge: Morrison C. England
17
18          It is hereby stipulated and agreed to between the United States
19   of America through Jason Hitt, Assistant U.S. Attorney, and defendant,
20   KEIT TRAN, by and through his counsel, Linda C. Harter, Chief Assistant
21   Federal Defender, that the status conference date of July 19, 2012 be
22   vacated, and the matter set for a change of plea on August 9, 2012 at
23   9:00 am.
24          This continuance is requested because defense counsel is
25   presently out of the district and unavailable on the presently
26   scheduled date.   Additionally, counsel for the government has provided
27   a proposed plea agreement to defense counsel.
28   ///
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1    Defense counsel seeks additional time to review the proposed agreement
2    with Mr. Tran, and to continue discussions with counsel for the
3    government.
4             Based upon the foregoing, the parties stipulate and agree that
5    the ends of justice served by granting this continuance outweigh the
6    best interests of the public and the defendant in a speedy trial
7    and time under the Speedy Trial Act should be excluded from the date of
8    signing of this order through and including August 9, 2012 pursuant to
9    18 U.S.C. §3161 (h)(7)(B)(iv) [reasonable time to prepare] and Local
10   Code T4 based upon continuity of counsel and defense preparation.
11   Dated: July 17, 2012                    Respectfully submitted,
12                                           DANIEL J. BRODERICK
                                             Federal Defender
13
                                             /s/ Daniel Broderick for
14                                           LINDA C. HARTER
                                             Assistant Federal Defender
15                                           Attorney for Defendant
                                             KEIT TRAN
16
17   Dated: July 17, 2012                    BENJAMIN B. WAGNER
                                             United States Attorney
18
                                             /s/ Daniel Broderick for
19                                           JASON HITT
                                             Assistant U.S. Attorney
20                                           Attorney for Plaintiff
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26   ///
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     Stip/Order to Continue                 -2-
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1                                       O R D E R
2          IT IS SO ORDERED.    For the reasons set forth above, the court
3    finds that the ends of justice to be served by a continuance outweigh
4    the best interests of the public and the defendant in a speedy trial
5    and therefore excludes time under the Speedy Trial Act through
6    August 9, 2012.
7
      Dated: July 17, 2012
8
9                                          _____________________________
                                           MORRISON C. ENGLAND, JR.
10
                                           UNITED STATES DISTRICT JUDGE
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     Stip/Order to Continue                 -3-
